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10
11                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
12                            WESTERN DIVISION
13
     MICHELLE EDITH ROSSER,              ) Case No. 2:21-cv-06553-JLS-KES
14
                                         )
15         Plaintiff,                    ) JUDGMENT
16                                       )
                  v.
                                         )
17                                       )
     KILOLO KIJAKAZI, Acting
18   Commissioner of Social Security,    )
                                         )
19         Defendant.                    )
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 1        Having approved the parties’ Stipulation to Remand Pursuant to Sentence
 2   Four of 42 U.S.C. § 405(g) and to Entry of Judgment, THE COURT ADJUDGES
 3   AND DECREES that judgment is entered for Plaintiff.
 4
 5
     DATED:     12/7/2021
 6
                                        HON. KAREN E. SCOTT
 7                                      UNITED STATES MAGISTRATE JUDGE
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